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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

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ust foRE, MO

* mg unr-1 P 223

vs. Case No. GLR-17-0341 & 19-0623SAG

UNITED STATES OF AMERICA

DAVID ROBINSON

Se i oo oe 2

ORDER OF DETENTION BY AGREEMENT

A hearing, having been held on this date, at which the defendant was represented by

a cheun R omev , and the Government was represented by
Assistant United States Attorney al wu Va Eo } , it is
ORDERED, this __I st day of _ March 2019 , that
the above-named defendant be, and the same hereby is, DETAINED by agreement of the parties
without prejudice to either side requesting a prompt hearing to set appropriate conditions of

release or otherwise address the detention of the defendant.

Stephanie A. Gallagher
United States Magistrate Judge

 

U.S, District Court (4/2000) Criminal Magistrate Forms: Detention by Agreement
